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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



UNITED STATES OF AMERICA,                      )   CASE NO. 1:07CR413-003
                                               )
       Plaintiff,                              )   JUDGE CHRISTOPHER A. BOYKO
                                               )
               v.                              )   MAGISTRATE JUDGE VECCHIARELLI
                                               )
TYSHA MCLOYD,                                  )
                                               )
       Defendant.                              )   ORDER


       On October 16, 2007, Defendant entered a plea of guilty to Count 3 of an indictment

charging 18 U.S.C. §513(a) - Making, Uttering and Possession Counterfeited and Forged

Securities of an Organizations. Defendant was sentenced by this Court on January 8, 2008 to

three years Probation with conditions including six months Home Confinement with Electronic

Monitoring, Mental Health Aftercare, and Restitution of $4,773.55.

       The Court received a Violation Report from the Pretrial/Probation office recommending

the Court issue a Summons for Defendant to appear. The Violation Report listed the nature of

the noncompliance(s): (1) Law Violation - Offender was arrested by the Macedonia Police

Department and charged with Petty Theft (M-1) and Obstruction of Official Business (M-2); (2)

Failure to Comply with Program Rules - The Offender was given leave from 12:00 p.m. to 3:00
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p.m. to go grocery shopping and was arrested during that time period at Burlington Coat Factory;

and (3) Criminal Associations - The Offender was arrested with Darneshia Fletcher, aka Lexus

Fletcher, a known felon.

       The Court held a Supervised Release Violation hearing on March 24, 2008. All counsel

and the Probation Officer were present.

       Kenneth Dodd, Probation Officer, outlined the dates and events surrounding Defendant’s

violations.

       Defense counsel stated the Defendant admits the violations , suffers from mental illness,

is regularly seen by a psychologist, and requests help from the Court to be more productive.

       The Government concurred with the recommendations of Pretrial/Probation that

Defendant be incarcerated with Supervised Release and conditions.

       The Court finds Defendant violated the conditions of Supervised Release and Orders the

Defendant committed to the custody of the Bureau of Prisons for six months followed by three

years Supervised Release, Mental Health Aftercare, No New Credit, Probation Officer to have

Financial Access; Restitution in the amount of $4,773.55, and Defendant shall apply all monies

subject to the Windfall Earnings Provision.

       Defendant is allowed to self- report to the United States Marshals by Noon on

Wednesday, March 26, 2008.

         IT IS SO ORDERED.



                                       S/Christopher A. Boyko
                                       CHRISTOPHER A. BOYKO
                                       United States District Judge

 March 26, 2008
